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CAH/JDM/DG USAO#2016R00363

IN THE UNITED STATES DISTRICT COURT “2 a3 oF
i At FOR THE DISTRICT OF MARYLAND ola OS
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UNITED STATES OF AMERICA : ~ = 3
v. - ° :
Criminal No. CCB-16-0267 ~
DANTE BAILEY, : ”
a/k/a “Gutta,” - : (Racketeering Conspiracy, 18 U.S.C.
a/k/a “Almighty,” : § 1962(d); Conspiracy to Distribute
a/k/a “Wolf,” Narcotics, 21 U.S.C. § 846; Distribution
DONTRAY JOHNSON, and Possession with Intent to
a/k/a “Gambino,” Distribute Narcotics, 21 U.S.C. § 841;
a/k/a “Bino,” Possession of a Firearm and .
a/k/a “Tray,” Ammunition by a Felon, 18 U.S.C.
ADRIAN JAMAL SPENCE, § 922(g); Possession and Discharging of
a/k/a “Spittle,” a Firearm in Furtherance of a Drug
a/k/a “SP,” Trafficking Crime, 18 U.S.C. § 924(c);
a/k/a “AJ,” Aiding and Abetting, 18 U.S.C. § 2;
WILLIAM BANKS, Forfeiture, 18 U.S.C. §§ 924, 1963; 21
a/k/a “Trouble,” U.S.C. § 853; 28 U.S.C. § 2461)
RANDY BANKS,
a/k/a “Dirt,”
AYINDE DELEON,
a/k/a “Murda,”
a/k/a “Yin,”
DOMINICK WEDLOCK,
a/k/a “Rage,”
a/k/a “Nick,”
JAMAL LOCKLEY, |
a/k/a “T-Roy,”
a/k/a “Droid,”
DWIGHT JENKINS,
a/k/a “Huggie,”
a/k/a “Une,”
JACOB BOWLING,
a/k/a “Jakey,”
a/k/a “Ghost,”

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a/k/a “Fred,”
CORLOYD ANDERSON,

a/k/a “Bo,”
MELVIN LASHLEY,

a/k/a “Menace,”
DEVON DENT,

a/k/a “Tech,”
WILLIAM JONES,

a/k/a “Bill,”

a/k/a “Smalls,”
JARMAL HARRID,

a/k/a “J-Rock,”

a/k/a “PJ,”
JAMAL SMITH,

a/k/a “Mal,”

a/k/a “Lil Mal,”
TIFFANY BAILEY,

a/k/a “Tiff,”
TAKUMA TATE,

a/k/a “Oop,”

a/k/a “Ook,”
MAURICE POLLOCK,

. a/k/a “Reese,”
SHAKEEN DAVIS,
_ a/k/a “Creams,”

CHARLES BLACKWELL,

a/k/a “Ci-Bo,”

a/k/a “Lil Charlie,”
KENNETH TORRY,

a/k/a “Kenny,”
DELANTE LEE,

a/k/a “Tay Tay,” and
JAY GREER,

a/k/a “Champagne,”

a/k/a “Montana Gold,”

a/k/a “Slick,”

Defendants.

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SUPERSEDING INDICTMENT

COUNT ONE
(Racketeering Conspiracy)

Introduction

1. Murdaland Mafia Piru (“MMP”), also known as the “Mob” or “Mobsters,” is a

violent subset of the Bloods gang that operates on the streets and in correctional facilities in
Maryland and elsewhere. For many years, MMP has controlled the drug trade in large swaths of
Northwest Baltimore City and neighboring Baltimore County, including Forest Park, Windsor
Mill, Gwynn Oak, Howard Park, Woodlawn, and Walbrook Junction. MMP also has offshoots
in East Baltimore City and in other cities such as Washington, DC.

2. MMP is descended from the Tree Top Piru (TTP) subset of the Bloods gang. TTP

was formed in Compton, California in the 1970s and derives its name from a group of streets in
Compton named after trees. Eventually, TTP spread throughout other states across the country,
and it became prevalent in Maryland beginning in the late 1990s.

3. In February 2008, the United States Attorney’s Office for the District of Maryland
indicted twenty-eight leaders of TTP on racketeering charges, effectively ending TTP’s control
in Maryland. According to MMP gang paperwork, the 2008 indictment “destroyed” TTP
because it led to accusations of “snitching” and “creat[ed] separation between brothers.” A
handful of former TTP members took advantage of the power vacuum created by the federal
indictment and created MMP in TTP’s stead. Although MMP adopted some of the same
practices as TTP, it developed its own unique ideology—in particular, an association with the

terminology and symbols of the Italian Mafia, and a preoccupation with money and murder.

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4. At all times relevant to this Superseding Indictment, the acting leader of MMP has
been Dante BAILEY, who is referred to as the “Don” of the gang. BAILEY was responsible
for writing and disseminating many of MMP’s charter documents beginning in 2009 while he
was incarcerated. After his release from prison in 2011, BAILEY flew to California to meet
with west coast leaders of TTP and gain their official approval for the MMP set in Maryland.

5. At all times relevant to this Superseding Indictment, MMP has been organized
hierarchically, with Dante BAILEY at the top and various subordinates underneath. According
to MMP gang paperwork, some of these subordinates have specialized functions, such as the
“F ive-Star General,” whose job is “training soldiers to defend our family,” and the “Boss of All
Bosses,” whose job is overseeing the gang’s finances and “orchestrat[ing] a dues system.” There
are also MMP units corresponding to different geographic regions or prisons, each consisting of
a “Boss,” an “Underboss,” and various “Capos,” “Lts,” and “soldiers.”

6. At all times relevant to this Superseding Indictment, MMP members were
required to follow certain rules of conduct. Members who violated these rules or who disobeyed
an order from a superior were subjected to disciplinary measures called “sanctions,” which
ranged from fines or work assignments for minor violations, to physical beatings or stabbings for
more serious violations, to murder for the most serious violations. Violations that are punishable.
by death include “[a]ny acts or attempted acts of treason” and “[a]ny co-operation with
authorities that lead[s] to incriminating others.” Other MMP rules include: “[w]hen at war fight
like you are ready to die,” and “[w]henever we are forced to strike, our only option is to kill.”
MMP members enhanced their status within the gang by carrying out acts of violence against
rivals; for instance, members could earn a “lightning bolt” tattoo for “killing for the Mob.”

Several MMP members, including BAILEY, have lightning bolt tattoos on their faces or bodies.
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7. At all times relevant to this Superseding Indictment, prospective members of
MMP were required to successfully complete an initiation process and recite an oath of loyalty
called the “Omerta Code.” MMP members were required to pay dues to the gang consisting of a
portion of the proceeds of their criminal activities, and they were subject to reprisal—and
sometimes murder—for failing to do so.

8. At all times relevant to this Superseding Indictment, MMP operated street-level

drug distribution “shops” in various locations in Baltimore City. These drug shops were
operated by MMP members and associates and distributed heroin, cocaine, and cocaine base
(commonly known as “crack”), among other controlled substances. Non-members who wished
to sell drugs in MMP’s territories were forced to pay a “tax” or were targeted for violence by
MMP members. MMP’s primary drug shops were located in the 5200 block of Windsor Mill
Road (which MMP considered to be its headquarters), and at the intersection of Gwynn Oak
Avenue and Liberty Heights Avenue. The drug shop in the 5200 block of Windsor Mill Road
was particularly lucrative due to its close proximity to Interstate 70, which made it easily
accessible to drug customers driving from western Maryland and neighboring states. It was not
unusual for MMP members and associates to sell over a kilogram of drugs per week at this
location, which could translate to over $1 00,000 in drug revenue per week.

9. At all times relevant to this Superseding Indictment, MMP members and
associates attempted to assume control over the legitimate businesses that operated in MMP’s
drug territories, including the BP gas station in the 5200 block of Windsor Mill Road. MMP
members and associates frequently stashed drugs and firearms on the premises of this gas station

and made drug sales at the gas pumps or within the store itself.
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10. Atal times relevant to this Superseding Indictment, MMP used social media
websites such’as Instagram, Facebook, and YouTube to assert its claim to particular drug
territories, intimidate rival gangs and drug traffickers, enhance MMP’s status, and enhance
individual members’ status within the gang. MMP members and associates posted photographs
and rap videos to these social media websites in which they flaunted firearms and threatened to
kill those who stood in the way of the gang.

11. At all times relevant to this Superseding Indictment, MMP members engaged in
criminal activities in furtherance of the gang, including, but not limited to, narcotics trafficking,
conspiracy to commit narcotics trafficking, murder, attempted murder, conspiracy to commit
murder, assault, extortion, obstruction of justice, witness intimidation and retaliation, and money
laundering. By participating in criminal activities in furtherance of the gang, particularly violent
acts directed by the MMP leadership, MMP members earned respect from fellow members and
maintained or advanced their position within the gang.

12. At all times relevant to this Superseding Indictment, the following defendants
among others were members and associates of MMP:

a. DANTE BAILEY, a/k/a “Gutta,” a/k/a “Almighty,” a/k/a “Wolf,”
b. DONTRAY JOHNSON, a/k/a “Gambino,” a/k/a “Bino,” a/k/a “Tray,” —
c. ADRIAN JAMAL SPENCE, a/k/a “Spittle,” a/k/a “SP, a/k/a “AJ,”
d. WILLIAM BANKS, a/k/a “Trouble,”
e. RANDY BANKS, a/k/a “Dirt,”
f. AYINDE DELEON, a/k/a “Murda,” a/k/a “Yin,”

g. DOMINICK WEDLOCK, a/k/a “Rage,” a/k/a “Nick,”

h. JAMAL LOCKLEY, a/k/a “T-Roy,” a/k/a “Droid,”

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DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Une,”

JACOB BOWLING, a/k/a “Jakey,” a/k/a “Ghost,” a/k/a “Fred,”

. CORLOYD ANDERSON, a/k/a “Bo,”
MELVIN LASHLEY, a/k/a “Menace,”
. DEVON DENT, a/k/a “Tech,”

. WILLIAM JONES, a/k/a “Bill,” a/k/a “Smalls,”

°o. JARMAL HARRID, a/k/a “J-Rock,” a/k/a “PJ,”
p. JAMAL SMITH, a/k/a “Mal,” a/k/a “Lil Mal,”
q. TIFFANY BAILEY, a/k/a “Tiff,”
r. TAKUMA TATE, a/k/a “Oop,” a/k/a “Ook,”
_s. MAURICE POLLOCK, a/k/a “Reese,”
t. SHAKEEN DAVIS, a/k/a “Creams,”
u. CHARLES BLACKWELL, a/k/a “Ci-Bo,” a/k/a “Lil Charlie,”
v. KENNETH TORRY, a/k/a “Kenny,”
_w. DELANTE LEE, a/k/a “Tay Tay,”

x. JAY GREER, a/k/a “Champagne,” a/k/a “Montana Gold,” a/k/a “Slick,”

The Racketeering Enterprise

13. At all times relevant to this Superseding Indictment, MMP, including its
leadership, members, and associates, constituted an “enterprise” as defined in Section 1961(4) of
Title 18, United States Code, that is, a group of individuals associated in fact that engaged in,
and the activities of which affected, interstate and foreign commerce. The enterprise constitutes

an ongoing organization whose members and associates function as a continuing unit for a

common purpose of achieving the objectives of the enterprise.

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Purposes of the Enterprise

14. Among the purposes of the enterprise were the following:

a. Enriching the leaders, members, and associates of the enterprise through
the distribution of controlled substances and other criminal activities, and through the use of
threats, intimidation, and violence, including, but not limited to, acts of murder and retaliation
against witnesses;

b. Promoting and enhancing the enterprise and its members’ and associates’
activities;

c. Preserving and protecting the power, territory, operations, and proceeds of
the enterprise through the distribution of controlled substances, and use of threats, intimidation,
and violence, including acts of murder, witness retaliation, and assaults;

d. Preserving and protecting the enterprise and its leaders by keeping its
members and associates from cooperating with law enforcement through intimidation, violence,
and threats of violence;

e. Providing financial support and information to members, including those
who were incarcerated for narcotics trafficking, acts of violence, or other offenses;

f. Providing assistance to other gang members who committed crimes for
and on behalf of the gang in order to hinder, obstruct, and prevent .law enforcement officers from
identifying, apprehending, and punishing the offender; and

g. Keeping victims and witnesses in fear of the enterprise and in fear of its

leaders, members, and associates through acts of violence and threats of violence.
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The Racketeering Conspiracy

15. Beginning on a date unknown to the Grand Jury, but at least prior to 2011, and
continuing until on or about the date of this Superseding Indictment, in the District of Maryland,
and elsewhere, the defendants, DANTE BAILEY, a/k/a “Gutta,” a/k/a “Almighty,” a/k/a
“Wolf,” DONTRAY JOHNSON, a/k/a “Gambino,” a/k/a “Bino,” a/k/a “Tray,” ADRIAN
JAMAL SPENCE, a/k/a “Spittle,” a/k/a “SP,” a/k/a “AJ,” WILLIAM BANKS, a/k/a
“Trouble,” RANDY BANKS, a/k/a “Dirt,” AYINDE DELEON, a/k/a “Murda,” a/k/a
“Yin,” DOMINICK WEDLOCK, a/k/a “Rage,” a/k/a “Nick,” JAMAL LOCKLEY, a/k/a
“T-Roy,” a/k/a “Droid,” DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Une,” JACOB
BOWLING, a/k/a “Jakey,” a/k/a “Ghost,” a/k/a “Fred,” CORLOYD ANDERSON, a/k/a
“Bo,” MELVIN LASHLEY, a/k/a “Menace,” DEVON DENT, a/k/a “Tech,” WILLIAM
JONES, a/k/a “Bill,” a/k/a “Smalls,” JARMAL HARRID, a/k/a “J-Rock,” a/k/a “PJ,”
JAMAL SMITH, a/k/a “Mal,” a/k/a “Lil Mal,” TIFFANY BAILEY, a/k/a “Tiff,”
TAKUMA TATE, a/k/a “Oop,” a/k/a “Ook,” MAURICE POLLOCK, a/k/a “Reese,”
SHAKEEN DAVIS, a/k/a “Creams,” CHARLES BLACKWELL, a/k/a “Ci-Bo,” a/k/a “Lil
Charlie,” KENNETH TORRY, a/k/a “Kenny,” and DELANTE LEE, a/k/a “Tay Tay,” and
JAY GREER, a/k/a “Champagne,” a/k/a “Montana Gold,” a/k/a “Slick”; each being a
person employed by and associated with MMP, an enterprise, which engaged in, and the
activities of which affected, interstate and foreign commerce, together with each other and with
other persons known and unknown to the Grand Jury, did knowingly, intentionally, and
unlawfully combine, conspire, confederate, and agree to violate Section 1962(c) of Title 18,

United States Code, that is, to conduct and participate, directly and indirectly, in the conduct of
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the enterprise’s affairs through a pattern of racketeering activity, as defined in Sections 1961(1)
and (5) of Title 18, United State Code, which pattern of racketeering activity consisted of:
a. multiple acts involving: .
i. Murder, chargeable under Md. Code Ann., Crim. Law §§ 2-201 and 2-204
(Maryland Murder) and 2-205, and 2-206 (Maryland Attempted Murder), and the Common Law
of Maryland punishable pursuant to Md. Code Ann., Crim. Law §§ 1-201, 1-202;
ii. Extortion, chargeable under Md. Code Ann., Crim. Law § 3-701
(Maryland Extortion); and § 3-705 (Maryland Extortion by Verbal Threat); and the Common
Law of Maryland punishable pursuant to Md. Code Ann. Crim. Law §§ 1-201 and 1-202; and
iil. Robbery, chargeable under Md. Code Ann., Crim Law § 3-402 (Maryland
Robbery); and the Common Law of Maryland punishable pursuant to Md. Code Ann. Crim. Law
§§ 1-201 and 1-202:
b. multiple offenses involving dealing in controlled substances, in violation of:
i. 21 U.S.C. § 846 (Conspiracy to Distribute a Controlled Substance)

ii. 21 U.S.C. § 841 (Distribution and Possession with Intent to Distribute a

Controlled Substance); and

c. multiple acts indictable under:
i. 18 U.S.C. § 1956 (Money Laundering);

ii. 18 U.S.C. § 1512 (relating to tampering with a witness, victim, or an

informant); and

iii. 18 U.S.C. § 1513 (relating to retaliating against a witness, victim, or

informant).

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Methods and Means of the Racketeering Conspiracy

16. | Among the methods and means by which the defendants and their associates
conducted and participated in the conduct of the affairs of the enterprise were the following:

17. | MMP members and associates employed and used gang-related terminology,
symbols, and tattoos. They frequently identified with the letter “M,” which is the first letter of
“Murdaland,” “Mafia,” and “Mob”; with the color red, which is the color of the Bloods gang;
and with the number “5200,” which is a reference to the 5200 block of Windsor Mill Road.

MMP members could “earn” gang tattoos, including an “M” for taking the MMP oath, a

lightning bolt for committing murder in furtherance of the gang, and a pink rose for the wife of
an MMP member.

18. MMP members and associates attended meetings with other MMP gang members
to discuss, among other things, past criminal acts; rival gangs and drug traffickers; the arrest or
incarceration of MMP members; the sanctioning of MMP members; the collection of dues; the
‘identities of individuals suspected of cooperating with law enforcement and the proposed actions
to be taken against them; plans and agreements regarding the commission of future crimes,
including murder, the distribution of controlled substances, illegal possession of firearms,
witness tampering, as well as ways to conceal these crimes from law enforcement.

19. Incarcerated MMP members and associates used jail telephones to disseminate
information about arrests and releases of members and associates, to warn of investigations and
undercover officers, to publicize the identities of persons believed to be cooperating with law
enforcement, to order assaults and murders of such persons, as well as enemies of the enterprise,
to request money from MMP members and associates who were not incarcerated, and to impose

sanctions on members and associates perceived to be in violation of the rules of the enterprise.

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Because they knew that jail telephone calls were recorded, MMP members and associates often
made calls using other inmates’ account numbers in an attempt to conceal their identities.

20. MMP members and associates agreed to purchase, maintain, and circulate
weapons and firearms for use in criminal activity by MMP members. They frequently obtained
firearms from drug customers in exchange for drugs.

21. MMP members and associates used, carried, possessed, brandished, and
discharged firearms in connection with the enterprise’s illegal activities, including, but not
limited to, murder, attempted murder, and extortion.

22, MMP members and associates used violence, threats of violence, and intimidation
to prevent victims and witnesses from cooperating with law enforcement against members of
MMP about criminal acts committed by MMP.

23. MMP members and associates obstructed justice and harmed, threatened, and
intimidated witnesses and victims who cooperated with law enforcement, including other
members of MMP and their associates.

24. | MMP members and associates distributed and conspired to distribute controlled
substances, including, but not limited to heroin, cocaine, and cocaine base, in and around
Baltimore City, and elsewhere.

25. MMP members and associates controlled drug territories and generally permitted
only MMP members to sell drugs in these territories. Non-MMP members who wished to
distribute drugs in these territories were forced to pay a tax or were targeted for violence by
MMP members.

26. | MMP members and associates paid dues to MMP leaders and were subject to

reprisal—and sometimes murder—for failure to do so. These dues were used for gang purposes

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including paying for bails and for lawyers of incarcerated members, acquiring firearms for use
by the gang, and enriching high-ranking members of MMP.

27. | MMP members and associates earned money for their enterprise and financed

their activities, including the payment of dues, through the distribution of controlled substances,

robbery, and extortion.

28. | MMP members and associates concealed the illegal source of funds by purchasing
automobiles and other valuable property through nominees. MMP members and associates also

gambled drug proceeds at casinos in and around Maryland, or simply funneled drug proceeds

through casinos to launder the money by making it appear as though they had won the money
gambling.

29. | MMP members and associates used cellular telephones to communicate with one
another concerning and during the commission of the enterprise’s illegal activities.

30. | MMP members and associates attempted to conceal the purposes of the acts done
in furtherance of the enterprise, and used coded language and other means to avoid detection and
apprehension by law enforcement and otherwise to provide security to members and associates
of the enterprise.

31. MMP members and associates agreed that acts of violence, including murder,
would be committed in order to protect and further the interests of MMP and impose discipline
within the gang.

Overt Acts

32. In furtherance of the conspiracy and to achieve the objective thereof, the

defendants and others performed and caused to be performed the following overt acts, among

others, in the District of Maryland and elsewhere:

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(1) On or about January 3, 2011, Adrian Jamal SPENCE threatened to
kill a drug customer who owed him a drug debt. SPENCE sent the customer a text message
saying, “Yo I want my money or my dope or im goin kill u today.” The customer replied, “im
sorry dude. im sick!!!! ill get you your $. that’s the last thing i wanted to do to you. please
believe me.” SPENCE replied, “I don’t give a fu** how sick u were I want my fu**n money .
And im not goin wait either or people goin die.” A few minutes later, SPENCE sent a text ~
message to a second individual that said, “Yo ill give you some money or some girl I jus need his
address and his parents adress.ima make an example out of This motherfu**er.”

(2) On or about March 6, 2011, Adrian Jamal SPENCE agreed to
purchase a .380 caliber firearm and 50 rounds of ammunition from a drug customer in exchange
for 3.5 grams of heroin.

(3) On or about September 12, 2012, in the 1900 block of Forest Park
Avenue, Shakeen DAVIS possessed a stolen Smith & Wesson .45 caliber firearm (serial number
TAK3106).

(4) Inor about October 2012, Dante BAILEY, Adrian Jamal SPENCE,
and William BANKS conspired to murder Samartine Hill, a/k/a “Snook,” as retaliation for
stealing drug customers from MMP in the vicinity of Windsor Mill Road and Forest Park
Avenue, and because he was believed to be cooperating with law enforcement. SPENCE agreed
to supply money for the hit. On or about October 15, 2012, William BANKS attempted to
murder Samartine Hill, shooting him multiple times in the head and torso with a .45 caliber
firearm outside the Club Mirage nightclub in downtown Baltimore. A bystander was also struck

in the leg while attempting to flee. Dante BAILEY, Dontray JOHNSON, Randy BANKS, and

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Devon DENT were present at the scene. JOHNSON, who wore a red shirt with the words
“MOBB SQUAD” on the back, filmed the victim with a tablet device.

(5) On or about October 18, 2012, Dante BAILEY, William BANKS,
and Corloyd ANDERSON met outside the Unit Block of Custom House Avenue. BANKS wore
a sweatshirt that said “Murdaland Mafia.”

(6) On or about November 4, 2012, in the Unit Block of Custom
House Avenue, Devon DENT and an unindicted co-conspirator possessed with intent to
distribute heroin, cocaine base, and marijuana. At the time of their arrest, DENT and the
unindicted co-conspirator also possessed MMP paperwork setting forth the history and structure
of the gang, as well as certain rules of conduct, including that “retaliation is a must,” and that
“co-operation with authorities that lead[s] to incriminating others” is punishable by death.

(7) On or about January 14, 2013, William BANKS and Adrian Jamal
SPENCE attempted to murder Terrell Gale. BANKS and SPENCE fired multiple shots through
Gale’s car window while Gale’s two-year-old daughter sat in the backseat. BANKS used a .40
caliber firearm stolen in a residential burglary in Baltimore County on January 6, 2013. BANKS
got caught in SPENCE’s crossfire and was shot in the wrist during the attack.

(8) On or about July 10, 2013, in the 5500 block of Force Road,
Maurice POLLOCK possessed a loaded Astra .40 caliber firearm (serial number 8250E).

(9) On or about November 1, 2013, MMP members posted a rap video
entitled “Boy You Lying” to the social media website YouTube, for the purpose of enhancing the
gang’s status, intimidating rivals, and discouraging anyone from selling drugs in the gang’s
territories without paying its members. The video stars Dante BAILEY, William BANKS, and

Dontray JOHNSON, who take turns brandishing a firearm while rapping about killing people

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who do not “stay in line.” The video includes a skit in which a young drug dealer dressed in red
takes a call from “Gutta” and promises him drug money, telling him he “just sold 100 packs
today.” When BAILEY and several older males dressed in red arrive to collect the money, the
young drug dealer claims he “ain’t got that money.” BAILEY and the older males accuse him of
lying and begin beating him.

(10) On or about November 1, 2013, MMP members posted a rap video
entitled “Str8 Mobbin” to YouTube for the purpose of enhancing the gang’s status and asserting
MMP’s dominance over its drug territories. The video features Dante BAILEY, William
BANKS, Dontray JOHNSON, Randy BANKS, Adrian Jamal SPENCE, Takuma TATE, and
~ other MMP members, as well as footage of MMP’s drug territories at the intersections of

Windsor Mill Road and Forest Park Avenue, Gwynn Oak Avenue and Liberty Heights Avenue,
Lauretta Avenue and Warwick Avenue, 27th Street and Boone Street, and Edmonson Avenue
and Loudon Avenue. In the opening scene, BAILEY takes a telephone call from William
BANKS, who tells him that “nig**s talkin’ about they run the city; it’s time to turn up on these
nig**s, man,” BAILEY replies, “Say no more; just get the Mob together, and we gonna show
these nig**s what it is.” The rap lyrics include references to killing people who stand in the way
of the gang, and JOHNSON and another MMP member brandish firearms in the video.
(11) = Onor about July 17, 2014, in the 2100 block of Tucker Lane,
Jamal SMITH possessed with intent to distribute heroin and possessed $2,464 in U.S. currency.
(12) Onor about August 14, 2014, Dante BAILEY and deceased MMP
_member James Edwards, a/k/a “Bangout,” used Corloyd ANDERSON’s identification card to

rent hotel rooms together in East Point, Georgia, while both had open arrest warrants in

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Maryland. Edwards was in possession of a loaded Smith & Wesson .40 caliber firearm (serial
number AG17918).

(13) On or about August 15, 2014, in the 1900 block of Forest Park
Avenue, William JONES possessed with intent to distribute approximately 15 grams of cocaine
base and 6 grams of heroin, and possessed $2,071 in U.S. currency.

(14) = Onor about September 10, 2014, in the 4800-4900 block of
Clifton Avenue, Dwight JENKINS distributed cocaine base.

(15) = Onor about October 9, 2014, at the BP gas station in the 5200
block of Windsor Mill Road, Dominick WEDLOCK distributed heroin and cocaine base.

(16) On or about December 3, 2014, in the 5200 block of Windsor Mill,
Charles BLACKWELL possessed a loaded Kel-Tec 9mm caliber firearm (serial number
AA0697).

(17) On or about January 15, 2015, in the 2700 block of West
Coldspring Lane, Dominick WEDLOCK possessed with intent to distribute approximately 14

grams of cocaine and possessed a Remington .45 caliber firearm (serial number 1746736).

(18) On or about February 8, 2015, Dante BAILEY, William BANKS,
Dominick WEDLOCK, and William JONES were at the BP gas station in the 5200 block of
Windsor Mill Road. WEDLOCK confronted a group of three men who were pumping gas, and
then asked BAILEY for a gun. BAILEY fired multiple shots at the three men with a .40 caliber
firearm, causing them to flee. JONES slashed a tire on the victims’ car before leaving the scene

with WEDLOCK.

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(19)  Onor about February 12, 2015, in the 1900 block of Forest Park
Avenue, Dominick WEDLOCK and William JONES conspired to distribute and distributed
narcotics, and possessed $3,880 in U.S. currency.

(20)  Onor about February 12, 2015, in the 2000 block of Englewood
Avenue, Dominick WEDLOCK possessed a Smith & Wesson .357 caliber firearm (serial
number ACF5457), a loaded .45 caliber magazine, and counterfeit currency.

(21) Onor about February 13, 2015, Dominick WEDLOCK called .
Dante BAILEY from a recorded telephone at the Baltimore County Detention Center. During
the call, BAILEY asked WEDLOCK for his “money” phone, i.e., the phone WEDLOCK had
been using to make drug sales. WEDLOCK told BAILEY he had given the phone to William
JONES. BAILEY said he wanted the phone.

(22) On or about March 9, 2015, in the 5200 block of Windsor Mill
Road, Charles BLACKWELL possessed with intent to distribute cocaine base.

(23) Onor about April 15, 2015, in the 3500 block of Gwynn Oak
Avenue, Devon DENT distributed cocaine base to an undercover officer.

(24) On or about April 16, 2015, Jarmal HARRID, Maurice
POLLOCK, and an unindicted co-conspirator possessed with intent to distribute heroin and
cocaine base and led police on a high-speed car chase, during which they threw a Smith &
Wesson mm firearm (serial number PAC7887) from the vehicle.

(25)  Onor about April 22, 2015, in the 4700 block of Gwynn Oak

Avenue, Devon DENT distributed cocaine base to an undercover officer.

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(26)  Onor about April 23, 2015, near the intersection of Windsor Mill
Road and Beverly Avenue, Dante BAILEY and an unindicted co-conspirator possessed with
intent to distribute approximately 21 grams of heroin.

(27) | Onor about April 25, 2015, in a recorded telephone call, Dante
BAILEY and his wife Tiffany BAILEY used coded language to discuss their heroin inventory.
Tiffany BAILEY was using the “money” phone that Dante BAILEY had obtained from

Dominick WEDLOCK and William JONES.

(28) Onor about April 28, 2015, Dante BAILEY and Randy BANKS
burglarized Hopkins Beauty Supply at 1713 Pennsylvania Avenue during the riots in Baltimore
City.

(29) | Onor about May 8, 2015, Jarmal HARRID possessed with intent
to distribute approximately 27 grams of cocaine, 24 grams of heroin, and 17 grams of marijuana,
and possessed $8,159 in U.S. currency.

(30) On or about June 6, 2015, Kenneth TORRY sent Shakeen DAVIS
a text message offering to supply him with 10 grams of heroin for distribution. Later in the day,

_ DAVIS sent TORRY a text message indicating that customers were saying they did not like the

quality of the heroin.

(31) ~~ Onor about June 9, 2015, Kenneth TORRY sent a text message to
Shaken DAVIS indicating that he had a supply of high-quality heroin for sale. TORRY stated:
“Got all 9s on this.....still a little soft but good they gonna like it.” In a reply text message,

DAVIS asked TORRY to “[c]ome holla at me.”

(32) On or about June 9, 2015, Adrian Jamal SPENCE distributed 22

grams of heroin.

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(33)  Onor about June 10, 2015, Adrian Jamal SPENCE distributed 17
grams of heroin.

(34)  Onor about June 12, 2015, Shakeen DAVIS agreed to help
Kenneth TORRY sell 100 grams of heroin.

(35)  Onor about June 12, 2015, Kenneth TORRY sent a text message
to Dante BAILEY asking when BAILEY would be ready with the payment for 100 grams of
heroin that had been provided to him on consignment. In a reply text message, BAILEY
indicated that he would not be able to sell off the heroin until the police presence in the area died
down. Bailey stated: “It’s scorching. He can get this hundon back until it cool down. When I’m

done I will take u to c the president.”

(36) Onor about June 17, 2015, Adrian Jamal SPENCE supplied 50

grams of heroin to Jamal SMITH for distribution.

(37) On or about June 18, 2015, in the 1900 block of Forest Park
Avenue, Dante BAILEY possessed with intent to distribute approximately 33 grams of
marijuana. As he was being arrested, BAILEY instructed an unindicted co-conspirator that he
needed to take the marijuana charge for him. The co-conspirator then advised police that the
marijuana in BAILEY’s vehicle belonged to him.

(38) On or about June 19, 2015, Adrian Jamal SPENCE purchased 150
grams of heroin from an unindicted co-conspirator.

(39) On or about June 20, 2015, in a recorded telephone call, Adrian
Jamal SPENCE informed Jarmal HARRID that he had just purchased a new supply of heroin

from an unindicted co-conspirator, and that a drug customer of SPENCE’s thought the quality of

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the heroin was “good .. . like an eight-and-a-half, nine.” HARRID told SPENCE he was
working on getting a supply of heroin from the unindicted co-conspirator.

(40) Onor about June 23, 2015, in a recorded telephone call, Adrian
Jamal SPENCE agreed to supply 10 grams of heroin to Jamal LOCKLEY.

(41) On or about June 29, 2015, Kenneth TORRY and an unknown co-

conspirator exchanged a series of text messages in which they discussed problems they were

having mixing a supply of heroin for distribution. TORRY stated: “I tried everything. Sitting it
in rice made it brown. Wutever is in it is not coexisting with the heroin.”

(42) On or about June 29, 2015, in a recorded telephone call, Jamal
LOCKLEY informed Adrian Jamal SPENCE that there was a drug customer at the BP. gas

station in the 5200 block of Windsor Mill Road looking to buy a gram of heroin.

(43) | Onor about June 30, 2015, Adrian Jamal SPENCE supplied
William JONES with 12 grams of heroin for distribution.

(44) Onor about July 1, 2015, Adrian Jamal SPENCE called the
“money” phone previously in use by Dominick WEDLOCK, Dante BAILEY, and Tiffany _
BAILEY, and instructed an unknown co-conspirator to distribute two grams of heroin to a
customer on Oakmont Street. When the unknown co-conspirator asked where Oakmont Street

was, SPENCE told him to ask Dante BAILEY.

(45) Onor about July 3, 2015, Tiffany BAILEY possessed with intent
to distribute approximately 26 grams of heroin and 21 grams of cocaine base. Shortly after her
arrest, in a recorded telephone call, Dante BAILEY informed Adrian Jamal SPENCE that

Tiffany BAILEY had been locked up and the drugs had been seized.

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(46)  Onor about July 3, 2015, Dante BAILEY possessed drug
packaging material, a money counter, a loaded Smith & Wesson .357 caliber firearm (serial

number CNW4373), and a loaded Beretta 9mm caliber firearm (serial number BER421485Z).

(47) —Onor about July 4, 2015, Dante BAILEY made a series of calls to

Jay GREER from the Baltimore County Detention Center. BAILEY instructed GREER to
continue mixing drugs together while he was locked up and “get everybody together and make
‘em push everything.” GREER told BAILEY that Adrian Tamal SPENCE had “front[ed]” drugs
to him the day before and that he was going to “try to help get some of that cheese together” to
“pay[] for the bills.” GREER also informed BAILEY that the search warrant paperwork left at
BAILEY’s residence said “something about a CI [confidential informant].”

(48) Onor about July 4, 2015, in a recorded telephone call, Dante

BAILEY advised Kenneth TORRY that “everything is still the same,” and that he would

continue to work through Adrian Jamal SPENCE and his wife (Tiffany BAILEY) from jail.

BAILEY instructed TORRY to collect $700 from the members of the organization and give it to

Tiffany BAILEY so that she could pay for his bail.
(49) Onor about July 4, 2015, in a recorded telephone call, Dante

BAILEY instructed Kenneth TORRY to supply Jay GREER with 200 grams of heroin on

consignment. When TORRY expressed reluctance, BAILEY said, “How you going to dictate
what I do with my business?” TORRY agreed to supply 100 grams of heroin to GREER and
another 100 grams of heroin to BAILEY when he was released from jail.

(50) On or about July 4, 2015, in a recorded telephone call, Dante

BAILEY informed Jay GREER that Kenneth TORRY was getting ready to give GREER 100

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grams of heroin, which would amount to at least “ten bands” (i.e., $10,000). BAILEY said “ain’t
no excuse” and asked, “You understand what we in?” GREER said he understood.

(51) On or about July 6, 2015, in a recorded telephone call, Adrian
Jamal SPENCE agreed to supply Jamal LOCKLEY with 40 grams of heroin for distribution.

(52) Onor about July 6, 2015, in a recorded telephone call, Adrian
Jamal SPENCE agreed to supply William JONES with 20 grams of heroin for distribution.

(53) Onor about July 6, 2015, in a recorded telephone call, Tiffany
BAILEY told Adrian Jamal SPENCE that Dante BAILEY had been given a $100,000 bail and
that she needed “like a thousand dollars.” SPENCE agreed to bring the money to her.

(54) From in or about July 6, 2015 until in or about July 16, 2015, ina
series of recorded telephone calls, Dontray JOHNSON agreed to sell Adrian Jamal SPENCE a
firearm and ammunition.

(55) Onor about July 7, 2015, in a recorded telephone call, Adrian
Jamal SPENCE told Dante BAILEY that he had heard “somebody might be tryin’ to set me up
or something.” BAILEY asked whether SPENCE wanted “‘to turn it up.” SPENCE told
BAILEY “it could be anybody.” BAILEY again offered “turn it up” on “whoever” SPENCE
thought it might be.

(56) Onor about July 8, 2015, in a recorded telephone call, Jamal
SMITH told Adrian Jamal SPENCE to call Jamal LOCKLEY and tell him that the police had
stopped LOCKLEY’s “boys” by the golf course on Forest Park Avenue. In a subsequent
recorded telephone call, SPENCE relayed the message to LOCKLEY.

(57) On or about July 9, 2015, in a recorded telephone call, Adrian

Jamal SPENCE agreed to supply William JONES with 14 grams of heroin for distribution.

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(58) On or about July 9, 2015, in a recorded telephone call, Adrian

Jamal SPENCE agreed to supply Jamal SMITH with 100 grams of heroin for distribution.

SMITH also asked SPENCE if he could use SPENCE’s phone while he was out of town in order
to make more drug sales.

(59) Onor about July 12, 2015, in the District of Columbia, Dante
BAILEY and two unindicted co-conspirators possessed a loaded Glock .40 caliber firearm (serial
number MBS765).

(60) On or about July 13, 2015, in the 1900 block of N. Forest Park,
William JONES and Dwight JENKINS conspired to distribute and distributed heroin to two

undercover officers.

(61) Onor about July 15, 2015, at the BP gas station in the 5200 block
of Windsor Mill Road, William JONES distributed heroin to two undercover officers.

(62) Onor about July 20, 2015, Adrian Jamal SPENCE possessed with
intent to distribute approximately 608 grams of heroin in a “stash house” used to store and
package heroin that SPENCE supplied to other members and associates of MMP.

(63) Onor about July 21, 2015, in a recorded telephone call, Takuma
TATE advised Adrian Jamal SPENCE of a suspicious person taking photographs who might be a

police officer.

(64) On or about July 23, 2015, in a recorded telephone call, Adrian .
Jamal SPENCE advised Jarmal HARRID that Maurice POLLOCK and now-deceased MMP
member Brian Johnson had been involved in “a shootout” at the BP gas station the previous

night, during which they both had been shot.

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(65) Onor about July 26, 2015, in a recorded telephone call, Jarmal
HARRID agreed to purchase 100 grams of heroin from an unindicted co-conspirator.

(66) Onor about July 27, 2015, in a recorded telephone call, Adrian
Jamal SPENCE agreed to supply Maurice POLLOCK with 20 grams of heroin for distribution.

(67) Onor about July 27, 2015, Dante BAILEY and Dontray
JOHNSON discussed a drug debt JOHNSON owed to BAILEY. JOHNSON sent BAILEY a

text message saying, “Is that going to clear my bill if not I need it to make a few more licks cause

I dont hav no work bro I’m down right now n need to get back up.” BAILEY responded, “Bill

cleared.”
(68) On July 27, 2015, William BANKS sent a text message to Dante

BAILEY advising him to remove incriminating content from his Instagram page because “the

Feds got Instagram dummy u know that.”

(69) On or about July 30, 2015, in a recorded telephone call, Adrian
Jamal SPENCE asked to purchase 50 grams of heroin for $4,000 from Takuma TATE. TATE
told SPENCE that Jamal LOCKLEY was on his way to see a supplier, and he would let SPENCE

know the price.

(70) Onor about July 31, 2015, Jarmal HARRID possessed with intent

to distribute approximately 60 grams of heroin and 26 grams of marijuana, and possessed $7,746

in U.S. currency.

(71) Onor about July 31, 2015, William JONES possessed with intent
to distribute approximately 13 grams of cocaine, and possessed $1,173 in U.S. currency.
(72) | Onor about July 31, 2015, Kenneth TORRY possessed with intent

to distribute approximately 22 grams of marijuana, and possessed a Jimenez Arms 9mm Luger

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caliber firearm with an obliterated serial number that was chemically restored and found to be
serial number 300588.

(73) | Onor about July 31, 2015, Adrian Jamal SPENCE possessed an
Israel .40 caliber firearm (serial number 34319036) and $26,250 in U.S. currency.

(74) Onor about July 31, 2015, Dontray JOHNSON possessed with
intent to distribute approximately 28 grams of heroin. JOHNSON also possessed 70 rounds of
.22 caliber ammunition, a bullet-proof vest, $1,480 in U.S. currency, and an “owe sheet” with a
tally of drug debts owed by various MMP members and associates.

(75) Between in or about July 2015 and in or about April 2016, Dante
BAILEY attempted to recruit another inmate at the Baltimore County Detention Center to join
MMP. In undated papers recovered from the inmate’s jail cell on April 8, 2016, BAILEY wrote:
“The science behind being 25% Piru 75% MOB is a representation of our roots which is Piru &
our bloodline which is Mafia. EMM$ come before all. M1 P2, I will murder you for Piru.”
BAILEY also recounted the history of MMP, beginning with its creation on March 2, 2009,
when “Bad Guy,” who was an “OOOG of TTP,” set out “to separate the real brothers from the
fake” after “the Don of Tree Top told the Feds on his brothers.” BAILEY continued: “In 2010,
Bad Guy & Wolf [BAILEY] finally reunited in USP Lee County & the structure of the MOBB
was put into effect. .. . Bad Guy & Wolf made history together for the MOBB by smashing the
New York & New Jersey Blood sets in USP Lee, sending a message to the Bloods on the East
Coast that we, Murdaland Mafia, run Murdaland.” BAILEY explained that by 2012, “Mobsters
had taken over Greenmount and IIchester, 27th and Boone, Lauretta & Warwick, & a part of
North & Pulaski.” BAILEY also wrote about tattoos MMP members could earn: an “M” for

“taking the Mafia oath,” a lightning bolt for “killing for the MOB,” a “pink rose” for a “Mafia

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wife,” a “badge of honor” for a “Made Man,” a “wolf imprint” for a “direct descendant of
Werewolf, who has killed,” or a “Mafia shield” for a “Capo of the MOBB.”

(76) Onor about August 10, 2015, PATisDOPE published a rap video
and one-on-one interview with Dante BAILEY, a/k/a “Gutta Almighty,” to the social media

website YouTube. The rap video features BAILEY, William JONES, Jamal LOCKLEY, Dwight

JENKINS, William BANKS, and other MMP members wearing items of red clothing and

making gang signs at the intersection of Windsor Mill and Forest Park. In the interview
following the rap video, BAILEY insisted that his rap is “just real talk.” He described his crew

at “Forest Park and Windsor Mill” as “get money boys,” explaining: “You get out of line, you

get ran over. We got teams for money and murder—whatever you want to do. At the end of the
day it’s all about this money. We get money. If y’all ain’t doin’ it, you get lost.”

(77) Onor about August 23, 2015, in a recorded telephone call, an
unknown female advised Adrian Jamal SPENCE that Dante BAILEY was “sending threats and
sh**, talking about nig**s got to give up $150 every week.”

(78) Onor about August 27, 2015, in the 2200 block of Ellamont Street,
Takuma TATE possessed with intent to distribute approximately 10 grams of heroin, and

possessed $2,314 in U.S. currency.

(79) Onor about August 28, 2015, in a recorded telephone call, William
JONES asked Melvin LASHLEY where Shakeen DAVIS was. LASHLEY told JONES that
DAVIS was driving around with a “shoulder strap” (.e., long gun).

(80) On or about August 29, 2015, in a recorded telephone call, Melvin
LASHLEY told Dominick WEDLOCK that he “got the ‘M’ tattoo between [his] eyes.”

WEDLOCK replied that he was wearing his “burgundy shorts.” In the same call, WEDLOCK

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asked: “Nig**s out that bit** gettin’ smoked, ain’t they man?” LASHLEY responded, “Hell
yeah, boy. Every day.” WEDLOCK added: “It’s a gift and a curse a nig** locked up because I
probably would have been in the mad middle. .. . Nig**a probably would have cracked my
dumb ass.” LASHLEY responded, “No, never that. You kept that motherfu**er on you.” —
WEDLOCK and LASHLEY went on to discuss an incident in which they participated in an
assault and robbery of rapper Bobby Shmurda, who is associated with the Crips gang.

(81) | Onor about August 30, 2015, in a recorded telephone call,

Dominick WEDLOCK asked now-deceased MMP member Maurice Braham for Randy

BANKS’ phone number. WEDLOCK explained that he needed somewhere to stay while on

home detention, and that BANKS had told WEDLOCK he could stay at BANKS’ house.

Braham told WEDLOCK that BANKS “keeps switching his numbers.”

(82)  Onor about August 30, 2015, in a recorded telephone call, Melvin
LASHLEY told Dominick WEDLOCK about a recent incident in which an individual stole a
. drug sale worth $850 from Jamal LOCKLEY, and Dontray JOHNSON and another individual
“beat the fu** out of him, broke his jaw and all that” and “beat his sister and his mother up.”

(83) | Onor about September 29, 2015, Dontray JOHNSON murdered
MMP member Brian Johnson, a/k/a “Nutty B,” because he refused to pay gang dues JOHNSON
was collecting for Dante BAILEY and Tiffany BAILEY. Afterward, J OHNSON visited
BAILEY at the Baltimore County Detention Center and recounted what happened. In a recorded
conversation, BAILEY approved the murder, saying “I told you about this . .. Blow a fu**ing
head off! Blow another nig**’s head off! I said I’m through. vee Don’t play with ‘em. Make ‘em
scared!” I OHNSON assured BAILEY he would continue enforcing the gang dues and ordering

MMP members to “kick that money out.” BAILEY instructed JOHNSON to “holler at Randy

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[BANKS] and tell him we raising the fourth generation. ... We going at everybody. ... We ain’t
fu**ing with nothing.” BAILEY also promised to put together a list of “who is who” in the gang
and give it to JOHNSON and BANKS.

(84) Onor about September 30, 2015, in a recorded telephone call,
Melvin LASHLEY advised William JONES that “Nutty B” had been killed. An unknown male
joined the call and asked whether the killing was “within the circle.” LASHLEY replied in the
affirmative, adding that he would “have to see y’all nig**s in person” because “I ain’t talking on
this phone.”

(85) On or about January 1, 2016, Dante BAILEY posted a photograph
to his Instagram account that pictured BAILEY with William JONES, Jamal SMITH, and others,
along with the comment “5 LAWS never hate, never steal, ride hard, never snitch, and die hard.
2 RULES get money or get lost in your own brain sauce. Sdeuce life.”

(86) Onor about January 1, 2016, Dante BAILEY posted a photograph
to his Instagram account that pictured BAILEY with Adrian Jamal SPENCE, William JONES,
Maurice POLLOCK, Melvin LASHLEY, and others, along with the comment “Roses are red
power is black long stroke the fed’s, fut* em we still going to count racks. One of us get shoot ,
a lot of nig**s get whacked. One of us turn rotten.... SSHHH.... We D money that.”

(87) On or about January 26, 2016, at the BP gas station in the 5200
block of Windsor Mill Road, Charles BLACKWELL and three unindicted co-conspirators
conspired to distribute and possessed with intent to distribute heroin, cocaine, and marijuana.
BLACK WELL’s three co-conspirators also possessed loaded firearms with obliterated serial

numbers. Collectively, the group possessed $2,587 in U.S. currency. When police approached,

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one of BLACK WELL’s co-conspirators passed a Taurus .357 caliber firearm through the
turnstile to the BP gas station clerk, who attempted to hide it under the counter.

(88) | Onor about February 1, 2016, Tiffany BAILEY sent a letter to
Dante BAILEY at the Baltimore County Detention Center and enclosed photographs picturing
Dante BAILEY, Randy BANKS, Devon DENT, Dontray JOHNSON, Jay GREER, Takuma
TATE, now-deceased MMP member Maurice Braham, a/k/a “Mookie,” and other MMP
members standing together making MMP gang signs.

(89) | Onor about February 5, 2016, in the 2400 block of E. Fayette
Street, Maurice POLLOCK possessed with intent to distribute heroin.

(90) In an undated letter, a known MMP member wrote to Dante
BAILEY, asking him to tell Tiffany BAILEY to send pictures of an MMP party they attended
together with MMP members Melvin LASHLEY, William JONES, and Jacob BOWLING,
“when me and you had on that red.” The MMP member continued: “I am pressing who ever and
doing what they suppose to be doing when I come home. Going in nig**s pockets. Just green
light them G.” The MMP member also advised BAILEY that he “got a few more tats on me G. I
got the 5-point crown on the right side of my face, the M on the left side of my face, team cash

on my leg, GMB on my left, WB on my leg, and 5200 big baby.”

(91) On or about February 6, 2016, an incarcerated TTP leader wrote to
Dante BAILEY, advising him that he would soon be publishing a sequel to “Frienemies” (a list
of friends and enemies of the gang). The TTP leader enclosed pictures of the dust jackets of
several books he had written, including (1) “Frienemies: Who Kan You Trust???”; (2)
“Frienemies 2: Still Kan’t Trust Nobody,” featuring a composite of the TTP leader’s face and

BAILEY’s face and the numbers “887” and “667” (the telephone touchtone equivalents of

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“TTP” and “MMP”); and (3) “Shhh Stop Snitchin.” In the same letter, the TTP leader accused
an unknown associate of “gossip, keeping sh** going, lying etc.” and advised BAILEY that he
“made a mistake putting him on.”

(92) | Onor about February 25, 2016, Shakeen DAVIS posted a
photograph to his Instagram account, “creams_dinero,” that pictured DAVIS holding a firearm

with an extended magazine, along with the comment “30 piece.”

(93) | Onor about February 25, 2016, Shakeen DAVIS posted a

photograph to his Instagram account that pictured DAVIS making an MMP gang sign, along
with the comment “MURDERLAND MAFIA THE MOBB THE WORLD IS OURS.”

(94) | Onor about March 10, 2016, Charles BLACKWELL posted a
photograph to his Instagram account that depicted BLACKWELL making an MMP gang sign,
together with the comment “Those Ms are Forever Baby.”

(95) | Onor about March 10, 2016, near the intersection of Elsinore

Avenue and Clifton Avenue, Jamal LOCKLEY distributed approximately 14 grams of cocaine

base.

(96) On or about March 22, 2016, Maurice POLLOCK distributed
heroin to an undercover officer who pulled up to the gasoline pumps at the BP gas station in the
5200 block of Windsor Mill Road.

(97) | Onor about March 24, 2016, near the intersection of Carlisle
Avenue and Denison Street, Maurice POLLOCK distributed approximately 5 grams of heroin to

an undercover agent.

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(98) On or about March 31, 2016, near the intersection of Crimea Road
and Dickey Hill Road, Charles BLACK WELL possessed a loaded Ruger .38 caliber firearm with
serial number 54212566.

(99) Onor about April 3, 2016, in a series of recorded telephone calls,
Devon DENT and Ayinde DELEON discussed MMP business. DELEON advised DENT that
Dante BAILEY would be having a bail review soon. DENT, who was incarcerated on state drug
charges, advised DELEON to be careful because the undercover officer involved in his case
“still be coming up there video-ing sh**” and “nig**s still be giving it to him.” DELEON
expressed concern that he might be targeted by police, saying, “I be out this bit** all day every
day too, you know, you feel me?” DENT assured DELEON the police would not “fu** with”
him because they were busy “fu**ing with” someone else. DENT also gave DELEON a detailed
description of the undercover officer so that DELEON could avoid making drug sales to him. In
a subsequent call, DENT reminisced about an MMP party attended by Dante BAILEY, Tiffany
BAILEY, Corloyd ANDERSON, and others. DENT recalled that they brought “an ounce of
molly” and “a quarter pound of loud,” and that he spent over $5,000 on the trip. DELEON and
DENT discussed an associate who was in a car accident. DENT said he “was going to put [his
drug] charge on him if he was dead” because “dead nig**s can’t really talk.”

(100) On or about April 4, 2016, near the intersection of Haddon Avenue
and Woodbine Avenue, Maurice POLLOCK distributed approximately 5 grams of heroin to an

undercover agent.

(101) Onor about April 7, 2016, in a recorded telephone call, Devon

DENT told an unknown male: “I might need you to handle something for me, yo” because
“Murda is acting scared and soft, yo.”

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(102) On or about April 13, 2016, Dante BAILEY posted a photograph
to his Instagram account, “Salmighty_gang2,” depicting a group of people holding handguns and
assault weapons, along with the comment, “YALL READY FOR THE TAKEOVER. MM100.”
William BANKS replied: “Yup.”

(103) On or about April 13, 2016, in a recorded telephone call, Ayinde
DELEON discussed smuggling drugs into a Baltimore jail for an incarcerated MMP member. In
the same telephone call, the incarcerated MMP member told DELEON about a conversation he
had with Randy BANKS regarding MMP members who are “not in compliance.” The
incarcerated MMP member told DELEON: “If the higher motherfu**ers that’s over me tell me
bop bop bop bop bop, yeah, you feel me, that’s my obligation, I know what I signed up for. So if
you can’t keep these nig**s in compliance, there’s no need for them to even be a part of what we
doing. Straight up. Gone.” DELEON agreed, saying: “T came home to a big disappointment.”

(104) On or about April 13, 2016, in a recorded telephone call, Devon
DENT told Ayinde DELEON to call “Lil Man” and tell him he owes DENT “a PayPal” and “if

he ain’t got it, yo, tell his bit**ass don’t come around the way no more or y’all gonna beat him

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up.
(105) Onor about April 14, 2016, near the intersection of Liberty
Heights Avenue and Gwynn Oak Avenue, Delante LEE distributed cocaine base.
(106) Onor about April 21, 2016, near the intersection of Liberty
Heights Avenue and Gwynn Oak Avenue, Delante LEE distributed cocaine base. In a recorded

conversation, LEE said he was going to purchase “four and a half ounces” of cocaine for $4,200

later that day. LEE also said he had raw heroin for sale for $90 per gram.

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(107) Onor about April 23, 2016, in a recorded telephone call between
Devon DENT and Ayinde DELEON, DENT reminisced about when he, Dante BAILEY,
William BANKS, and now-deceased MMP member James Edwards “used to just pull up on the
block” like they were “untouchable.” DENT continued: “We used to ride around like the police
couldn’t touch us, I’m talking broad daylight, I’m talking about main streets too,” like “Monroe”
“Pratt,” “Monument Street,” and “Pennsylvania Avenue.” DELEON asked if they would “just
walk around with a joint out or something.” DENT said “no, like, handling situations” or
“hopping out and putting nig**s in they place. .. . like, ‘Everybody lay the fu** down.’”

(108) On or about April 23, 2016, Dante BAILEY posted a photograph

of a handgun to his Instagram account with the comment, “Still hands on pretty pretty bitches.”

(109) Onor about April 26, 2016, near the intersection of Security
Boulevard and Gwynn Oak Avenue, Shakeen DAVIS possessed a stolen Glock .40 caliber
handgun (serial number HHC901) and a loaded AR-15 rifle (serial number F071734).

(110) Onor about May 3, 2016, Dante BAILEY and Tiffany BAILEY
went to an indoor shooting range, where they purchased 150 rounds of ammunition and rented a
Ruger .22 caliber firearm (serial number 363-75990), a Springfield .45 caliber firearm (serial
number MG500105), and a Beretta 9mm caliber firearm (serial number BER659285). Dante
BAILEY posted a video of himself firing one of the handguns to his Instagram account with the
comment “ALMIGHTY LIFE [emojis of revolvers, explosions, 1000] BLACK BLOOD
BROTHERHOOD.”

(111) Onor about May 9, 2016, Dante BAILEY, Jacob BOWLING,

Randy BANKS, Ayinde DELEON, and other MMP members attended a funeral for slain MMP

member Maurice Braham, a/k/a “Mookie,” and conducted ritualistic honors for him. DELEON

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brought a red banner emblazoned with the letters “MMP,” which was draped over Braham’s
casket. At the viewing on May 8, 2016, Dante BAILEY hung a diamond-studded ““M” necklace

around Braham’s neck.

(112) Onor about May 10, 2016, in the 2200 block of Tucker Lane,

Dwight JENKINS distributed approximately 5 grams of heroin.

(113) Onor about May 16, 2016, in the 2200 block of Tucker Lane,
Dwight JENKINS distributed approximately 29 grams of cocaine base and 10 grams of heroin in
exchange for $2,450.

(114) Onor about May 17, 2016, Ayinde DELEON discussed selling a
9mm caliber firearm—one of two he said he owned—in exchange for $450. On or about June 1,
2016, in a recorded conversation, DELEON indicated he no longer wanted to sell the 9mm

caliber firearm because he “need[ed] them” both.

(115) On or about May 17, 2016, Dante BAILEY and Tiffany BAILEY
possessed with intent to distribute approximately 94 grams of heroin. Dante BAILEY also
possessed (a) letters to and from MMP members discussing MMP business, (b) an
autobiographical screenplay featuring the members of MMP and describing acts of violence very
similar to ones MMP members are known to have carried out, and (c) a handwritten note
containing the MMP oath and a list of disciplinary actions for “Level .1,” “Level 2,” and “Level
3” violations.

(116) Onor about May 26, 2016, in the 2200 block of Tucker Lane,
Dwight JENKINS distributed approximately 28 grams of cocaine base and 10 grams of heroin in

exchange for $2,400.

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(117) On or about June 2, 2016, in the 2300 block of Lyndhurst Avenue,
Jacob BOWLING distributed approximately 6 grams of cocaine base.

(118) Onor about June 3, 2016, in the 1600 block of E. Pratt Street,

Dwight JENKINS distributed approximately 28 grams of cocaine base and 10 grams of heroin in

exchange for $2,550.

(119) Onor about June 9, 2016, in the 1600 block of E. Pratt Street,

Dwight JENKINS distributed approximately 56 grams of cocaine base in exchange for $2,900.

(120) Onor about June 22, 2016, ina recorded telephone call, Dante
BAILEY instructed Tiffany BAILEY to facilitate a narcotics transaction between two unknown
individuals. Tiffany BAILEY agreed to pick up a quantity of narcotics from an unknown
individual on Lyndhurst Avenue.

(121) On or about June 24, 2016, in the 1600 block of E. Pratt Street,
Dwight JENKINS sold a Bersa .380 caliber firearm (serial number D99978) and 14 rounds of
ammunition.

(122) On or about June 26, 2016, Dante BAILEY assaulted another
inmate at the Correctional Treatment Facility, causing multiple fractures to his face. Ina
recorded telephone call after the incident, BAILEY recounted the incident to Tiffany BAILEY,

telling her “these motherfu**ers . . . scared of me now.”

(123) On or about July 2, 2016, in a recorded telephone conversation,
Jamal LOCKLEY advised Dwight JENKINS that Melvin LASHLEY was “throwing threats to

them nig**s” and “talking ‘bout he gonna kill all y’all, I’m gonna kill all y’all.”

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(124) On or about July 6, 2016, in the 200 block of Herring Court,
Dwight JENKINS distributed approximately 140 grams of cocaine base and 50 grams of heroin
in exchange for $12,000. JENKINS also offered to sell a machine gun.

(125) Onor about July 8, 2016, in the 2300 block of Lyndhurst Avenue,
Jacob BOWLING sold approximately 13 grams of cocaine base in exchange for $800.

(126) Onor about July 11, 2016, in a recorded conversation, Dwight

JENKINS told a drug customer that his associates believed the customer was working for law

enforcement. JENKINS added: “I know we under investigation up my way, a Serious one.”
JENKINS explained that he had gotten a job mentoring a seven-year-old child in an attempt to

avoid scrutiny by law enforcement.

(127) Onor about July 12, 2016, in a series of recorded telephone calls,
an unknown person told Jacob BOWLING that he had found BOWLING’s firearm in the couch
and moved it to a cabinet. BOWLING told the unknown person to be careful because the
firearm was loaded with “one in the nose.”

(128) Onor about July 16, 2015, in a recorded telephone conversation,
William BANKS referred a drug customer to Dwight JENKINS.

(129) On or about July 24, 2016, in a recorded telephone call, William
JONES told Jacob BOWLING that an incarcerated MMP member wanted William BANKS “to
get sanctioned” because he had not followed through on a promise to put money on the MMP
member’s PayPal account. BOWLING replied: “Alright, say no more. .. . I’m gonna take care

of that.” —

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(130) Onor about July 24, 2016, in a recorded telephone call, Jamal
LOCKLEY told Melvin LASHLEY he was coming to get “cruddy cracks” from him.
LASHLEY told LOCKLEY that they were already gone, but that he had $140 for LOCKLEY.

(131) On or about July 27, 2016, in a series of recorded telephone calls,

Melvin LASHLEY and Jamal LOCKLEY discussed acquiring an additional supply of narcotics
from a stash house operator. LASHLEY advised Jamal LOCKLEY to be “careful” because of a
vehicle in the area they believed was being operated by federal agents.

(132) Onor about July 28, 2016, in the 3100 block of Mondawmin Mall,
Jacob BOWLING sold approximately 33 grams of cocaine base in exchange for $2,200.

(133) On or about August 1, 2016, in a recorded telephone call, Jamal
LOCKLEY told Corloyd ANDERSON he was “[t]rying to see what we can scrape up” so he
could purchase a supply of narcotics. ANDERSON told LOCKLEY he “definitely gotta holla at
me today.”

(134) On or about August 3, 2016, in a recorded telephone call, Jamal
LOCKLEY advised Corloyd ANDERSON that Jamal SMITH heard there was a rumor going
around that ANDERSON was cooperating with law enforcement. ANDERSON demanded to
know who started the rumor.

(135) Onor about August 3, 2016, in a recorded telephone call, Jacob
BOWLING told Corloyd ANDERSON he needed to get a supply of narcotics before “nine-o-
clock when we open” the drug shop.

(136) Onor about August 9, 2016, in a recorded telephone call, Tiffany
BAILEY told Jamal LOCKLEY that she needed LOCKLEY to put money on a Green Dot card.

LOCKLEY agreed.

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(137) ' Onor about August 11, 2016, in a recorded telephone call, Jamal
LOCKLEY agreed to sell two grams of heroin to a drug customer in exchange for $190.

(138) Onor about August 19, 2016, in a recorded telephone call, Dante

BAILEY and Jamal LOCKLEY conspired to murder William BANKS based on a belief that he

was cooperating with law enforcement in a federal case against Adrian Jamal SPENCE.
BAILEY directed LOCKLEY to have a known MMP member carry out the murder.
Subsequently, Tiffany BAILEY encouraged BANKS to meet with the MMP member who Dante
BAILEY suggested should carry out the murder.

(139) Onor about August 25, 2016, in the 2800 block of Mohawk
Avenue, Jacob BOWLING sold approximately 58 grams of cocaine base in exchange for $2,800.

(140) Onor about August 26, 2016, William BANKS possessed with

intent to distribute approximately 32 grams of heroin, and possessed three loaded firearms and
over 100 rounds of .45 caliber ammunition. Two of the firearms had been reported stolen.

(141) In an undated letter, Dante BAILEY wrote to an unknown MMP
member, advising him that he had “failed to follow the protocol” and that, “for the next 90 days I
will keep a close eye on you.” BAILEY went on to explain: “Everyone who says the Omerta
Code is royalty. That is not for everyone anymore. When your cheeks get kissed, you become a
Made Man. ... You are a Made Man who runs his own table now. This means you need a U.B.
[Under Boss], a Capo, & a LT [Lieutenant]. ... Those 3 positions become Made Men also. You
must kiss there [sic] cheeks. They must be able to spit the 2 M’s.” In a postscript to the letter,

BAILEY wrote: “Fu** this case. No matter what happens, I’ still be a legend.”

18 U.S.C. §1962(d)

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NOTICE OF SPECIAL SENTENCING FACTORS—-COUNT ONE

From at least in or about 2011 through the date of this Superseding Indictment, in the District of

Maryland and elsewhere, the defendants herein,

DANTE BAILEY, a/k/a “Gutta,” a/k/a “Almighty,” a/k/a “Wolf,”
DONTRAY JOHNSON, a/k/a “Gambino,” a/k/a “Bino,” a/k/a “Tray,”
ADRIAN JAMAL SPENCE, a/k/a “Spittle,” a/k/a “SP,” a/k/a “AJ,”
WILLIAM BANKS, a/k/a “Trouble,”

RANDY BANKS, a/k/a “Dirt,”

AYINDE DELEON, a/k/a “Murda,” a/k/a “Yin,”
-DOMINICK WEDLOCK, a/k/a “Rage,” a/k/a “Nick,”
JAMAL LOCKLEY, a/k/a “T-Roy,” a/k/a “Droid,”
DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Unc,”

JACOB BOWLING, a/k/a “Jakey,” a/k/a “Ghost,” a/k/a “Fred,”
CORLOYD ANDERSON, a/k/a “Bo,”

MELVIN LASHLEY, a/k/a “Menace,”

DEVON DENT, a/k/a “Tech,”

WILLIAM JONES, a/k/a “Bill,” a/k/a “Smalls,”
JARMAL HARRID, a/k/a “J-Rock,” a/k/a “PJ,”

JAMAL SMITH, a/k/a “Mal,” a/k/a “Lil Mal,”
TIFFANY BAILEY, a/k/a “Tiff,”

TAKUMA TATE, a/k/a “Oop,” a/k/a “Ook,”
MAURICE POLLOCK, a/k/a “Reese,”

SHAKEEN DAVIS, a/k/a “Creams,”

CHARLES BLACKWELL, a/k/a “Ci-Bo,” a/k/a “Lil Charlie,”
KENNETH TORRY, a/k/a “Kenny,”

DELANTE LEE, a/k/a “Tay Tay, and
JAY GREER, a/k/a “Champagne,” a/k/a “Montana Gold,” a/k/a “Slick,”

did knowingly and willfully combine, conspire, confederate, and agree with each other and with
others known and unknown to the Grand Jury to knowingly and intentionally distribute and
possess with intent to distribute one kilogram or more of a mixture or substance containing a
detectable. amount of heroin, a Schedule I controlled substance, and 280 grams or more of a
mixture or substance containing a detectable amount of cocaine base, a Schedule II controlled

substance, in violation of Title 21, United States Code, Sections 841(a)(1), (b)(1)(A) and 846.

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COUNT TWO
(Conspiracy to Distribute and Possess with Intent to Distribute Controlled Substances)

The Grand Jury for the District of Maryland further charges that:

1. Paragraphs | through 13 and 16 through 34 of Count One of this Superseding
Indictment are re-alleged and incorporated by reference as though fully set forth herein.

2.. From at least in or about 2011 through the date of this Superseding Indictment, in
the District of Maryland and elsewhere, the defendants herein,

DANTE BAILEY, a/k/a “Gutta,” a/k/a “Almighty,” a/k/a “Wolf,”
DONTRAY JOHNSON, a/k/a “Gambino,” a/k/a “Bino,” a/k/a “Tray,”
WILLIAM BANKS, a/k/a “Trouble,”

RANDY BANKS, a/k/a “Dirt,”

AYINDE DELEON, a/k/a “Murda,” a/k/a “Yin,”
DOMINICK WEDLOCK, a/k/a “Rage,” a/k/a “Nick,”
JAMAL LOCKLEY, a/k/a “T-Roy,” a/k/a “Droid,”
DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Une,”
JACOB BOWLING, a/k/a “Jakey,” a/k/a “Ghost,” a/k/a “Fred,”
CORLOYD ANDERSON, a/k/a “Bo,”

MELVIN LASHLEY, a/k/a “Menace,”

DEVON DENT, a/k/a “Tech,”

WILLIAM JONES, a/k/a “Bill,” a/k/a “Smalls,”
JARMAL HARRID, a/k/a “J-Rock,” a/k/a “PJ,”
JAMAL SMITH, a/k/a “Mal,” a/k/a “Lil Mal,”
TIFFANY BAILEY, a/k/a “Tiff,”

TAKUMA TATE, a/k/a “Oop,” a/k/a “Ook,”
MAURICE POLLOCK, a/k/a “Reese,”

SHAKEEN DAVIS, a/k/a “Creams,”

CHARLES BLACKWELL, a/k/a “Ci-Bo,” a/k/a “Lil Charlie,”
KENNETH TORRY, a/k/a “Kenny,”

DELANTE LEE, a/k/a “Tay Tay, and
JAY GREER, a/k/a “Champagne,” a/k/a “Montana Gold,” a/k/a “Slick,”

did knowingly and willfully combine, conspire, confederate, and agree with each other and with
others known and unknown to the Grand Jury to knowingly and intentionally distribute and
possess with intent to distribute one kilogram or more of a mixture or substance containing a

detectable amount of heroin, a Schedule I controlled substance, and 280 grams or more of a

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mixture or substance containing a detectable amount of cocaine base, a Schedule II controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1), (b)(1)(A).

21 U.S.C. § 846

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COUNT THREE
(Possession and Discharging of a Firearm in Furtherance of a Drug Trafficking Crime)

The Grand Jury for the District of Maryland charges that:
On or about October 15, 2012, in the District of Maryland, the defendant,
WILLIAM BANKS, a/k/a “Trouble,”
did knowingly possess and discharge a firearm in furtherance of a drug trafficking crime, to wit:
conspiracy to distribute and possess with intent to distribute controlled substances, in violation of

21 U.S.C. § 846, as charged in Count Two of this Superseding Indictment, which is incorporated

by reference.

18 U.S.C. § 924(c)

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COUNT FOUR
(Possession with Intent to Distribute Heroin)

The Grand Jury for the District of Maryland charges that:
On or about July 31, 2015, in the District of Maryland, the defendant,
DONTRAY JOHNSON, a/k/a “Gambino,” a/k/a “Bino,” a/k/a “Tray,”

knowingly and intentionally possessed with intent to distribute a mixture or substance containing

a detectable amount of heroin, a Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT FIVE
(Felon in Possession of Ammunition)

The Grand Jury for the District of Maryland charges that:
On or about July 31, 2015, in the District of Maryland, the defendant,

DONTRAY JOHNSON, a/k/a “Gambino,” a/k/a “Bino,” a/k/a “Tray,”

having been convicted of a crime punishable by imprisonment for a term exceeding one year, did

knowingly possess in and affecting interstate commerce 70 rounds of .22 caliber ammunition, in

violation of Title 18, United States Code, Section 922(g).

18 U.S.C. § 922(g)

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COUNT SIX
(Felon in Possession of a Firearm and Ammunition)

The Grand Jury for the District of Maryland charges that:
On or about July 31, 2015, in the District of Maryland, the defendant,
ADRIAN JAMAL SPENCE, a/k/a “Spittle,” a/k/a “SP,” a/k/a “AJ,”
having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting interstate commerce a firearm, that is, one Desert Eagle .40
caliber semi-automatic pistol with serial number 34319036, and ammunition, in violation of Title
18, United States Code, Section 922(g).

18 U.S.C. § 922(g)

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COUNT SEVEN
(Felon in Possession of a Firearm and Ammunition)

The Grand Jury for the District of Maryland charges that:

On or about July 31, 2015, in the District of Maryland, the defendant,
KENNETH TORRY, a/k/a “Kenny,”

having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting interstate commerce a firearm, that is, one J iminez Arms
9mm Luger caliber semi-automatic pistol with an obliterated serial number that was chemically
restored and found to be serial number 300588, and ammunition, in violation of Title 18, United
States Code, Section 922(g).

18 U.S.C. § 922(g)

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COUNT EIGHT
' (Possession and Discharging of a Firearm in Furtherance of a Drug Trafficking Crime)

The Grand Jury for the District of Maryland charges that:
On or about September 29, 2015, in the District of Maryland, the defendant,

DONTRAY JOHNSON, a/k/a “Gambino,” a/k/a “Bino,” a/k/a “Tray,”

did knowingly possess and discharge a firearm in furtherance of a drug trafficking crime, to wit:

conspiracy to distribute and possess with intent to distribute controlled substances, in violation of
21 U.S.C..§ 846, as charged in Count Two of this Superseding Indictment, which is incorporated

by reference.

18 U.S.C. § 924(c)

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COUNT NINE
(Distribution of Cocaine Base)

The Grand Jury for the District-of Maryland charges that:
On or about March 10, 2016, in the District of Maryland, the defendant,
JAMAL LOCKLEY, a/k/a “T-Roy,” a/k/a “Droid,”

knowingly, intentionally, and unlawfully distributed a mixture or substance containing a

detectable amount of cocaine base, a Schedule II controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1).

21 USS.C. § 841

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COUNT TEN
(Distribution of Heroin)

The Grand J ury for the District of Maryland charges that:

On or about March 22, 2016, in the District of Maryland, the defendant,

MAURICE POLLOCK, a/k/a “Reese,”
knowingly, intentionally, and unlawfully distributed a mixture or substance containing a
detectable amount of heroin, a Schedule I controlled substance, in violation of Title 21, United
States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT ELEVEN
(Distribution of Heroin)

The Grand Jury for the District of Maryland charges that:

On or about March 24, 2016, in the District of Maryland, the defendant,

MAURICE POLLOCK, a/k/a “Reese,”

knowingly, intentionally, and unlawfully distributed a mixture or substance containing a
detectable amount of heroin, a Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1).

21 U.S.C.'§ 841

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COUNT TWELVE
(Distribution of Heroin)

The Grand Jury for the District of Maryland charges that:
On or about April 4, 2016, in the District of Maryland, the defendant,

MAURICE POLLOCK, a/k/a “Reese,”

knowingly, intentionally, and unlawfully distributed a mixture or substance containing a
detectable amount of heroin, a Schedule I controlled substance, in violation of Title 21, United
States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT THIRTEEN
(Distribution of Cocaine Base)

The Grand Jury for the District of Maryland charges that:
On or about April 14, 2016, in the District of Maryland, the defendant,

DELANTE LEE, a/k/a “Tay Tay,”

knowingly, intentionally, and unlawfully distributed a mixture or substance containing a

detectable amount of cocaine base, a Schedule II controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT FOURTEEN
(Distribution of Cocaine Base)

The Grand Jury for the District of Maryland charges that:
On or about April 21, 2016, in the District of Maryland, the defendant,
DELANTE LEE, a/k/a “Tay Tay,”
knowingly, intentionally, and unlawfully distributed a mixture or substance containing a
detectable amount of cocaine base, a Schedule II controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT FIFTEEN

(Felon in Possession of Firearms and Ammunition)
The Grand Jury for the District of Maryland charges that:
On or about May 3, 2016, in the District of Maryland, the defendant,
DANTE BAILEY, a/k/a “Gutta,” a/k/a “Almighty,” a/k/a “Wolf,”
having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting interstate commerce the following firearms and ammunition:

a) a Ruger .22 caliber handgun with serial number 363-75990,

b) 50 rounds of .22 caliber ammunition,
c) aSpringfield .45ACP caliber handgun with serial number MGS00105, and
d) 50 rounds of 9mm caliber ammunition,
in violation of Title 18, United States Code, Section 922(g).

18 U.S.C. § 922(g)

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COUNT SIXTEEN
(Distribution of Heroin)

The Grand Jury for the District of Maryland charges that:
On or about May 10, 2016, in the District of Maryland, the defendant,
DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Unc,”
knowingly, intentionally, and unlawfully distributed a mixture or substance containing a
detectable amount of heroin, a Schedule I controlled substance, in violation of Title 21, United
States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT SEVENTEEN
(Distribution of Heroin and Cocaine Base)

The Grand Jury for the District of Maryland charges that:
On or about May 16, 2016, in the District of Maryland, the defendant,
DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Unc,”
knowingly, intentionally, and unlawfully distributed a mixture or substance containing a
detectable amount of heroin, a Schedule I controlled substance, and a mixture or substance
containing a detectable amount of cocaine base, a Schedule II controlled substance, in violation
of Title 21, United States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT EIGHTEEN
(Possession with Intent to Distribute Heroin)

The Grand Jury for the District of Maryland charges that:

On or about May 17, 2016, in the District of Maryland, the defendants,

DANTE BAILEY, a/k/a “Gutta,” a/k/a “Almighty,” a/k/a “Wolf,” and
TIFFANY BAILEY, a/k/a “Tiff,”

knowingly and intentionally possessed with intent to distribute a mixture or substance containing

a detectable amount of heroin, a Schedule I controlled substance, in violation of Title 21, United

States Code, Section 841(a)(1).

21 U.S.C. § 841
18 U.S.C. § 2

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COUNT NINETEEN
(Distribution of Heroin and Cocaine Base)

The Grand Jury for the District of Maryland charges that:
On or about May 26, 2016, in the District of Maryland, the defendant,
DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Une,”
knowingly, intentionally, and unlawfully distributed a mixture or substance containing a

detectable amount of heroin, a Schedule I controlled substance, and a mixture or substance

containing a detectable amount of cocaine base, a Schedule II controlled substance, in violation

of Title 21, United States Code, Section 841(a)(1).

21 US.C. § 841

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COUNT TWENTY
(Distribution of Cocaine Base)

The Grand Jury for the District of Maryland charges that:
On or about June 2, 2016, in the District of Maryland, the defendant,

JACOB BOWLING, a/k/a “Jakey,” a/k/a “Ghost,” a/k/a “Fred,”

knowingly, intentionally, and unlawfully distributed a mixture or substance containing a

detectable amount of cocaine base, a Schedule II controlled substance, in violation of Title 21,

United States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT TWENTY-ONE
(Distribution of Heroin and Cocaine Base)

The Grand Jury for the District of Maryland charges that:

On or about June 3, 2016, in the District of Maryland, the defendant,

DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Unc,”
knowingly, intentionally, and unlawfully distributed a mixture or substance containing a
detectable amount of heroin, a Schedule I controlled substance, and a mixture or substance

containing a detectable amount of cocaine base, a Schedule II controlled substance, in violation

of Title 21, United States Code, Section 841(a)(1).

21 U.S.C. § 841 .

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COUNT TWENTY-TWO
(Distribution of Cocaine Base)

The Grand Jury for the District of Maryland charges that:
On or about June 9, 2016, in the District of Maryland, the defendant,

DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Unc,”

knowingly, intentionally, and unlawfully distributed 28 grams or more of a mixture or substance
containing a detectable amount of cocaine base, a Schedule II controlled substance, in violation

of Title 21, United States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT TWENTY-THREE
(Felon in Possession of a Firearm and Ammunition)

The Grand Jury for the District of Maryland charges that:
On or about June 24, 2016, in the District of Maryland, the defendant,

DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Unc,”

having been convicted of a crime punishable by imprisonment for a term exceeding one year, did

knowingly possess in and affecting interstate commerce a firearm, that is, one Bersa .380 caliber

semi-automatic pistol with serial number D99978, and ammunition, in violation of Title 18,
United States Code, Section 922(g).

18 U.S.C. § 922(g)

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COUNT TWENTY-FOUR
(Distribution of Heroin and Cocaine Base)

The Grand Jury for the District of Maryland charges that:
On or about July 6, 2016, in the District of Maryland, the defendant,
DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Une,”
knowingly, intentionally, and unlawfully distributed a mixture or substance containing a
detectable amount of heroin, a Schedule I controlled substance, and 28 grams or more of a

mixture or substance containing a detectable amount of cocaine base, a Schedule IT controlled

substance, in violation of Title 21, United States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT TWENTY-FIVE
(Distribution of Cocaine Base)

The Grand Jury for the District of Maryland charges that:

On or about July 8, 2016, in the District of Maryland, the defendant,

JACOB BOWLING, a/k/a “Jakey,” a/k/a “Ghost,” a/k/a “Fred,”
knowingly, intentionally, and unlawfully distributed a mixture or substance containing a
detectable amount of cocaine base, a Schedule II controlled substance, in violation of Title 21,
United States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT TWENTY-SIX
(Distribution of Cocaine Base)

The Grand J ury for the District of Maryland charges that:

On or about July 28, 2016, in the District of Maryland, the defendant,

JACOB BOWLING, a/k/a “Jakey,” a/k/a “Ghost,” a/k/a “Fred,”
knowingly, intentionally, and unlawfully distributed 28 grams or more of a mixture or substance
containing a detectable amount of cocaine base, a Schedule II controlled substance, in violation
of Title 21, United States Code, Section 841(a)(1)..

21 U.S.C. § 841

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COUNT TWENTY-SEVEN
(Distribution of Cocaine Base)

The Grand Jury for the District of Maryland charges that:

On or about August 25, 2016, in the District of Maryland, the defendant,

JACOB BOWLING, a/k/a “Jakey,” a/k/a “Ghost,” a/k/a “Fred,”

knowingly, intentionally, and unlawfully distributed 28 grams or more of a mixture or substance

containing a detectable amount of cocaine base, a Schedule IJ controlled substance, in violation
of Title 21, United States Code, Section 841(a)(1).

21 U.S.C. § 841

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COUNT TWENTY-EIGHT
(Felon in Possession of Firearms and Ammunition)

The Grand Jury for the District of Maryland charges that:

On or about August 26, 2016, in the District of Maryland, the defendant,

WILLIAM BANKS, a/k/a “Trouble,”
having been convicted of a crime punishable by imprisonment for a term exceeding one year, did
knowingly possess in and affecting interstate commerce the following firearms and ammunition:
a) a Ruger .44 caliber revolver with serial number 8005814, and ammunition,
b) a Marlin .22 caliber rifle with serial number MM7062C, and ammunition, and
c) aMosberg 20-gauge shotgun with serial number MV56686U, and ammunition,

in violation of Title 18, United States Code, Section 922(g).

18 U.S.C. § 922(g)

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FORFEITURE

Rico F orfeiture
1. Pursuant to Title 18, United States Code, Section 1963, upon conviction of an
offense in violation of Title 18, United States Code, Section 1962, the defendants

DANTE BAILEY, a/k/a “Gutta,” a/k/a “Almighty,” a/k/a “Wolf,”
DONTRAY JOHNSON, a/k/a “Gambino,” a/k/a “Bino,” a/k/a “Tray,”
ADRIAN JAMAL SPENCE, a/k/a “Spittle,” a/k/a “SP,” a/k/a “AJ,”
WILLIAM BANKS, a/k/a “Trouble,”
RANDY BANKS, a/k/a “Dirt,”
AYINDE DELEON, a/k/a “Murda,” a/k/a “Yin,”
~ DOMINICK WEDLOCK, a/k/a “Rage,” a/k/a “Nick,”
JAMAL LOCKLEY, a/k/a “T-Roy,” a/k/a “Droid,”
DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Une,”
JACOB BOWLING, a/k/a “Jakey,” a/k/a “Ghost,” a/k/a “Fred,”
CORLOYD ANDERSON, a/k/a. “Bo,”
MELVIN LASHLEY, a/k/a “Menace,”
DEVON DENT, a/k/a “Tech,”
WILLIAM JONES, a/k/a “Bill,” a/k/a “Smalls,”
JARMAL HARRID, a/k/a “J-Rock,” a/k/a “PJ,”
JAMAL SMITH, a/k/a “Mal,” a/k/a “Lil Mal,”
TIFFANY BAILEY, a/k/a “Tiff,”
TAKUMA TATE, a/k/a “Oop,” a/k/a “Ook,”
MAURICE POLLOCK, a/k/a “Reese,”
SHAKEEN DAVIS, a/k/a “Creams,”
CHARLES BLACKWELL, a/k/a “Ci-Bo,” a/k/a “Lil Charlie,”
KENNETH TORRY, a/k/a “Kenny,”
DELANTE LEE, a/k/a “Tay Tay,”
JAY GREER, a/k/a “Champagne,” a/k/a “Montana Gold,” a/k/a “Slick,”

shall forfeit to the United States of America:

a. any interest acquired or maintained in violation of section 1962;

b. any interest in, security of, claim against, or property or contractual right of any
kind affording a source of influence over, any enterprise which the defendants
established, operated, controlled, conducted, or participated in the conduct of, in
violation of section 1962; and

C. any property constituting, or derived from, any proceeds obtained, directly or

indirectly, from racketeering activity or unlawful debt collection in violation of
1962.

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2. The interests of the defendant subject to forfeiture to the United States pursuant to
18 U.S.C. § 1963(a)(1), (a)(2), and (a)(3), include, but are not limited to a sum of money
representing the amount of the gross proceeds received by the defendants derived from
racketeering activity as alleged in this Superseding Indictment, for which each of the defendants

are jointly and severally liable.

Drug Trafficking Forfeiture

3. Pursuant to 21 U.S.C. § 853, upon the conviction of an offense in violation of 21
U.S.C. §§ 841 or 846, the defendants,

DANTE BAILEY, a/k/a “Gutta,” a/k/a “Almighty,” a/k/a “Wolf,”
DONTRAY JOHNSON, a/k/a “Gambino,” a/k/a “Bino,” a/k/a “Tray,”
WILLIAM BANKS, a/k/a “Trouble,”

RANDY BANKS, a/k/a “Dirt,”

AYINDE DELEON, a/k/a “Murda,” a/k/a “Yin,”

DOMINICK WEDLOCK, a/k/a “Rage,” a/k/a “Nick,”

JAMAL LOCKLEY, a/k/a “T-Roy,” a/k/a “Droid,”

DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Unc,”

JACOB BOWLING, a/k/a “Jakey,” a/k/a “Ghost,” a/k/a “Fred,”
CORLOYD ANDERSON, a/k/a “Bo,”

MELVIN LASHLEY, a/k/a “Menace,”

DEVON DENT, a/k/a “Tech,”

WILLIAM JONES, a/k/a “Bill,” a/k/a “Smalls,”

JARMAL HARRID, a/k/a “J-Rock,” a/k/a “PJ,”

JAMAL SMITH, a/k/a “Mal,” a/k/a “Lil Mal,”

TIFFANY BAILEY, a/k/a “Tiff,”

TAKUMA TATE, a/k/a “Oop,” a/k/a “Ook,”

MAURICE POLLOCK, a/k/a “Reese,”

SHAKEEN DAVIS, a/k/a “Creams,”

CHARLES BLACKWELL, a/k/a “Ci-Bo,” a/k/a “Lil Charlie,”
KENNETH TORRY, a/k/a “Kenny,”

DELANTE LEE, a/k/a “Tay Tay,”

JAY GREER, a/k/a “Champagne,” a/k/a “Montana Gold,” a/k/a “Slick”

shall forfeit to the United States:

a. Any property constituting, or derived from, any proceeds obtained directly or
indirectly as the result of the offense; and

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b. Any property used or intended to be used, in any manner or part, to commit, or to
facilitate the commission of, such offense.

4, Such property shall include, but not be limited to, a sum-of money equal to the
proceeds obtained, directly or indirectly, as the result of the violations of 21 U.S.C. § 846, as
charged in Count Two of this Superseding Indictment, and all interest and proceeds traceable
thereto, representing the amount of proceeds obtained as a result of the conspiracy to violate the
Controlled Substances Act, for which the defendants are jointly and severally liable.

Firearm Forfeiture

5. Upon conviction of the offenses in violation of 18 U.S.C. §§ 922(g) and 924(c)
set forth in Counts 3, 5 through 8, 15, 23, and 28, of this Superseding Indictment, the defendants,

DANTE BAILEY, a/k/a “Gutta,” a/k/a “Almighty,” a/k/a “Wolf,”

DONTRAY JOHNSON, a/k/a “Gambino,” a/k/a “Bino,” a/k/a “Tray,”

ADRIAN JAMAL SPENCE, a/k/a “Spittle,” a/k/a “SP,” a/k/a “AJ,”

WILLIAM BANKS, a/k/a “Trouble,”

DWIGHT JENKINS, a/k/a “Huggie,” a/k/a “Une,”

KENNETH TORRY, a/k/a “Kenny,”
shall forfeit to the United States pursuant to Title 18, United States Code, Section 924(d) and
Title 28, United States Code, Section 2461(c), any firearms and ammunition involved in the

commission of the offenses.

Substitute Assets

6. If any of the property described above, as a result of any act or omission of the:
defendants:
a. cannot be located upon the exercise of due diligence;
b. has been transferred or sold to, or deposited with, a third party;
“¢. has been placed beyond the jurisdiction of the court;

d. has been substantially diminished in value; or

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e. has been commingled with other property that cannot be divided without

difficulty;
the United States shall be entitled to forfeiture of substitute property pursuant to 21 U.S.C.

§ 853(p) and 18 U.S.C. § 1963(m), as incorporated by 28 U.S.C. § 2461(c).

21 U.S.C. § 853

18 U.S.C. § 1963
28 U.S.C. § 2461(c)
18 U.S.C. § 924(d)

Roel Raspuste/ CAH

ROD J. ROSENSTEIN
UNITED STATES ATTORNEY

A TRUE BILL:

Foreersvf V

